                 Case 2:11-cr-00514-TLN Document 159 Filed 05/28/13 Page 1 of 3



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 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:11-CR-0514 TLN
12                                 Plaintiff,                STIPULATION REGARDING
                                                             CONINUATION OF RESTITUTION
13   v.                                                      HEARING FOR ROMAN
                                                             MALAKHOV; FINDINGS AND
14   AHMED CHARTAEV, et. al.,                                ORDER
15                                 Defendants.               DATE: MAY 30, 2013
                                                             TIME: 9:30 A.M.
16                                                           JUDGE: TROY L. NUNLEY
17

18

19
                                                 STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and defendant
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22 Roman Malakhov, by and through his counsel of record, hereby stipulate as follows:

23          1.       By previous order, this matter was set for a restitution hearing on May 3, 2013 before

24 Judge Burrell. By previous order, the restitution hearing was continued until May 30, 2013 before

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     this Court.
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            2.       By this stipulation, the parties now move to continue the restitution hearing until July
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     11, 2013.
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                 Case 2:11-cr-00514-TLN Document 159 Filed 05/28/13 Page 2 of 3


            3.       The government has sought information concerning the loss attributable to the entities
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     that are believed to be the defendant’s victims. The government has yet to receive that complete
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 3 information from the victims. The government has shared the information that it has received with

 4 defendant’s counsel who has questions about the material. The government needs additional time

 5 for the victims to provide additional information.

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            4.       Counsel for the defendant is currently in a murder trial and needs additional time to
 7
     review the material provided by the government.
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            5.       According to 18 U.S.C. § 3664(d)(5), the Court should set a hearing for a final
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10 determination of a victim’s losses, not to exceed 90 days after sentencing. The date July 11, 2013, is

11 beyond that 90-day window as defendant Malakhov was sentenced on March 8, 2013. The

12 defendant waives all rights that he has to having the restitution hearing scheduled within 90-days of

13 sentencing and requests that the restitution hearing be scheduled for July 11, 2013.

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     IT IS SO STIPULATED.
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16
     DATED:          May 23, 2013
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18                                         /s/ Lee S. Bickley___________________
                                           Lee S. Bickley
19                                         Assistant United States Attorney

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     DATED:          May 23, 2013
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22                                         /s/ __Lee. S. Bickley for ___________
                                           Christopher C. Cosca
23                                         Counsel for Defendant Roman Malakhov

24

25                                                 ORDER

26
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that
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     defendant Roman Malakhov has waived his right to have a restitution hearing within 90 days of his
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                                                        2
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              Case 2:11-cr-00514-TLN Document 159 Filed 05/28/13 Page 3 of 3


     sentencing and the restitution hearing for Roman Malakhov presently set for May 30, 2013, is
 1
     continued to July 11, 2013 at 9:30 a.m.
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 4 DATED:          May 24, 2013

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 7                                                                Troy L. Nunley
 8                                                                United States District Judge

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